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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


KASSONDRA
KASSONDRA JONES, on behalf             CASE NO.:
of herself and those similarly
situated,
situated,

                 Plaintiff,
                 Plaintiff,

vs.

ANTICA POSTA RISTORANTE,
             RISTORANTE,
INC.,
INC., AND MARCO BETTI,
                BETTI,
INDIVIDUALLY,

             Defendants
             Defendants.
____________________________/

                COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, KASSONDRA JONES, by and through the undersigned

attorney, sues the Defendants, ANTICA POSTA RISTORANTE, INC., and

MARCO BETTI, Individually, and alleges:

      1.      Plaintiff was an employee of Defendants and brings this action for

unpaid minimum wage compensation, declaratory relief, and other relief under

the Fair Labor Standards Act, as amended, 29 U.S.C. § 216(b) (“FLSA”).

                              GENERAL ALLEGATIONS

      2.      Plaintiff worked for Defendants from approximately July 2016 to



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November 2016 as a server.

       3.      Plaintiff worked for Defendants at their Antica Posta restaurant in

Buckhead. See www.anticaposta.com.

       4.      Defendant, ANTICA POSTA RISTORANTE, INC., operates a

restaurant in Atlanta, Georgia and is therefore within the jurisdiction of this

Court.

       5.       At all times relevant to this action, MARCO BETTI was an

individual resident of the State of Georgia, who owned and operated ANTICA

POSTA RISTORANTE, INC., and who regularly exercised the authority to: (a)

hire and fire employees; (b) determine the work schedules for the employees;

and (c) control the finances and operations of ANTICA POSTA RISTORANTE,

INC.     By virtue of having regularly exercised that authority on behalf of

ANTICA POSTA RISTORANTE, INC., MARCO BETTI is an employer as

defined by 29 U.S.C. § 201, et seq.

       6.      This action is brought under the FLSA to recover from Defendants

minimum wage compensation, overtime compensation, liquidated damages,

and reasonable attorneys’ fees and costs.

       7.      This Court has jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. §1331 and the FLSA and the authority to grant declaratory relief under



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the FLSA pursuant to 28 U.S.C. §2201 et seq.

      8.      During Plaintiff’s employment with Defendants, Defendant,

ANTICA POSTA RISTORANTE, INC., earned more than $500,000.00 per year

in gross sales.

      9.      During Plaintiff’s employment with Defendants, Defendants

employed two or more employees which handled goods, materials and supplies

which had travelled in interstate commerce.

      10.     Included in such goods, materials and supplies were computers,

telephones, food items, drink items, stemware, dishes, as well as numerous

other goods, materials and supplies which had been carried in interstate

commerce.

      11.     Therefore, Defendant, ANTICA POSTA RISTORANTE, INC., is an

enterprise covered by the FLSA, and as defined by 29 U.S.C. §203(r) and 203(s).

                               FLSA VIOLATIONS

      12.     At all times relevant to this action, Defendants failed to comply

with the FLSA by failing to pay Plaintiff and other servers a direct wage for all

hours worked during their employment.

      13.     Plaintiff and those similarly situated worked as servers for

Defendants.



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      14.   During their employment with Defendants, Plaintiff and the other

servers were usually only paid the tips received by them from customers.

      15.   Defendants typically did not pay Plaintiff or the other servers a

direct wage for their work performed.

      16.   Pursuant to the FLSA, even tip credit employees are required to

receive a direct wage of at least $2.13 per hour for each hour worked.

      17.   Defendants have violated the FLSA due to their above described

pay practices in failing to pay Plaintiff and the other servers a direct wage for

all hours worked.

      18.   Upon information and belief, the records, to the extent any exist

and are accurate, concerning the number of hours worked and amounts paid to

Plaintiff is in the possession and custody of Defendants.

               COUNT I - RECOVERY OF MINIMUM
                                     MINIMUM WAGES

      19.   Plaintiff reincorporates and readopts all allegations contained

within Paragraphs 1-18 above.

      20.   Plaintiff and the other servers were entitled to be paid a direct

wage for all hours worked for Defendants.

      21.    During their employment with Defendants, Plaintiff and the other

servers received no direct wage, just tips earned, from Defendants for most of



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their hours worked.

      22.   Defendants did not have a good faith basis for their decision to pay

Plaintiff and their servers no direct wage for all hours worked by them.

      23.   Because of Defendants’ intentional, willful and unlawful acts in

refusing to pay Plaintiff and the other servers proper compensation, Plaintiff

and the other servers have suffered damages plus incurring reasonable

attorneys’ fees and costs.

      24.   Because of Defendants’ willful violation of the FLSA, Plaintiff and

the other servers are entitled to liquidated damages.

      25.   Plaintiff demands a trial by jury.

      WHEREFORE, Plaintiff, KASSONDRA JONES, on behalf of herself and

those similarly situated, demands judgment against Defendants for unpaid

minimum wage compensation, liquidated damages, reasonable attorneys’ fees

and costs incurred in this action, declaratory relief, and any and all further

relief that this Court determines to be just and appropriate.

      Dated this 11th day of April, 2017.

                               /s/ C. RYAN MORGAN
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